Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 1 of 51

fh {IN THE UNITED STATES DISTRICT COURT
N) \ Q FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

 

Green : CIVIL ACTION

“19 3123

Klepacki

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the
time of filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth
on the reverse side of this form.) In the event that a defendant does not agree with the plaintiff
regarding said designation, that defendant shall, with its first appearance, submit to the clerk
of court and serve on the plaintiff and all other parties, a Case Management Track Designation
Form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. (CD

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health and Human
Services denying plaintiff Social Security Benefits. (Lp

(c) Arbitration ~ Cases required to be designated for arbitration under Local Civil Rule 53.2. (Ly

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. (L)

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases. (Ly
(f) Standard Management - Cases that do not fall into any one of the other tracks. 555 (x)
7 2019
JUL 4 ono Me
Date Deputy Clerk Attorney for
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 2 of 51
UNITED STATES DISTRICT COURT

N) \ Q PB FOR THE EASTERN DISTRICT OF PENNSYLVANIA 1 9

DESIGNATION FORM 3 1 2 3

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar}

 

 

 

 

Address of Plaintiff: PO Box 244, Collegeville, PA 149426
Address of Defendant:

Place of Accident, Incident or Transaction: Montgomery

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| no[ |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ No [|
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No [|
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [|
case filed by the same individual?

I certify that, to my knowledge, the within case (is / 11] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pate; 07/17/2019 bat he Z

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable}

 

 

CIVIL: (Place a ¥ in one category only)

 

 

 

 

A Federal Question Cases: B, Diversity Jurisdiction Cases:
C1 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
C] 2. FELA L] 2. Airplane Personal Injury
CCl 3. Jones Act-Personal Injury [] 3. Assault, Defamation
[] 4. Antitrust ["] 4. Marine Personal Injury
H 5, Patent [| 5. Motor Vehicle Personal Injury
6. Labor-Management Relations ["] 6. Other Personal Injury (Please specify):
7. Civil Rights CL] 7. Products Liability
Cl] 8. Habeas Corpus L] 8. Products Liability — Asbestos
[1 9. Securities Act(s) Cases EJ] 9. All other Diversity Cases
{_] 10. Social Security Review Cases (Please specifv):
{] 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility for arbitration.)

L , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

DATE:

 

Attorney-at-Law / Pro Se Plaintiff Attorney ID, # (ff applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

 

Civ, 609 (5/2018)
Case 2:19-cv-03123-NIQA Document 2

wre UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

MI CHABL 60¢BRM

 

(In the space above enter the full name(s) of the plaintiff{s).}

- against -

(C. O. “CER PAC

 

 

 

 

 

 

 

 

 

 

(In the space above enter the full name(s) of the defendani{s), If you
cannot fit the names of ail of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part L. Addresses should not be included here.)

E Parties in this complaint:

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3123

COMPLAINT

under the
Civil Rights Act, 42 U.S.C. § 1983
(Prisoner Complaint)

Jury Trial: @ Yes OF No
(check ane)

A. List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper

as necessary.

Plaintiff Name MIiCHAGL 6266m

pe _tw- o262

Current Institution 6 CE PHOe Vix
Address (200 MopkyCitre Nerve , COCLe bE Witte -
PA. (942lp Pttowe MUMBEn! C610S- Yoe- TE90

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B. List all defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the
above caption, Attach additional sheets of paper as necessary.

Defendant No. 1 wame. Ce O- [CLG CACIEC _ snictas
Where Currently Employed SCE Pee yw x
Address 1200 MOKY Citic IS hi VE
COLib be VILLE, PA. 1942 o.- Bur toro\-407- TE70

Defendant No. 2 Name Shield #
Where Currently Employed

 

Address

 

 

Defendant No. 3 Name Shield #
Where Currently Employed
Address

 

 

 

Defendant No. 4 Name Shield #
Where Currently Employed
Address

 

 

 

Defendant No. 5 Name Shield #
Where Currently Employed

 

Address

 

 

Il. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set-forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A. In what institution did the events giving rise to your claim(s) occur? JS ef come C4 wt

 

 

B. Where in the institution did the events giving rise to your claim(s) occur? SB COMPLAINT

 

 

c What date and approximate time did the events giving rise to your claim(s) oceur?

STAMUARY 2€, 20l4

Rev. torao00 -~2-
 

 

What
happened
to you?

 

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D. Facts: oO 6 te Com pf At Aéi.

 

 

 

Who
did
whal?

 

 

 

 

 

 

 

 

 

 

Was
anyone
alse
involvad?

 

 

 

 

Who alee
saw what
happened?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i. Injuries:

1f you sustained injuries related to the events alleged above, describe them and state what medical
treatment, if any, you required and received. __.$ B. bB CONPLARWT

 

 

 

 

 

 

IV, Exhaustion of Administrative Remedies:

The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that “ [nJo action shall be
brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted.” Administrative remedies are also known as grievance procedures,

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Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 6 of 51

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes _ 4 No ___

If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your clajm{s).

SCT Pita six [200 MOUyY Cire Nbive
COLLEGE VILLE, PA. 19742 pier biO\- 4o9- TE 70

B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes K No ____ Do Not Know

 

c. Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
arose cover some or all of your claim(s)?

Yes NM No

If YES, which claim(s)?_ GE COMP LAL AT

Do Not Know

 

 

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

Yes xX No

If NO, did you file a grievance about the events described in this complaint at any other jail,
prison, or other correctional facility?

Yer ___No_X.

 

 

 

 

 

 

E. If you did file a grievance, about the events described in this complaint, where did you file the
grievance?
AT SCT PP ito Bik
1. Which claim(s) in this complaint did you grieve? Jb & CoMeLA tat
2, What was the result, if any? Db wad
3. What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to

4 —
the highest level of the grievance process. S66 COM e LACM

 

 

 

 

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Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 7 of 51

 

 

 

 

F, If you did not file a grievance:
1, If there are any reasons why you did not file a grievance, state them here: // BA &
2. Uf you did not file a grievance but informed any officials of your claim, state who you

informed, when and how, and their response, if any:_A/O A/ &

 

 

 

 

G. Please set forth any additional information that is relevant to the oxhaustion of your administrative

remedies.__.6 b & Come! Arc

 

 

 

 

 

 

 

Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.
Vv. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that
you are seeking and the basis for such amount), 35 PE coms LAc vv ®

 

 

 

 

 

 

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On
thease
olaima

 

 

¥I.

Previous lawsuits:

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action? :

Yes No xX

If your answer to A is YES, describe each lawsuit by apswering questions 1 through 7 below. af
there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using

the same format. )

 

 

 

 

 

 

 

 

1, Parties to the previous lawsuit:
Plaintiff ALON BE
Defendants AMO As &
2. Court (if federal court, name the district; if state court, name the county) Noa B
3. Docket or Index number NOQALE
4, Name of Judge assigned to your case Alo AE
5. Approximate date of filing lawsuit__/V OWE
6. Is the case still pending? Yes No xX
if NO, give the approximate date of disposition iv 0 rl®

Rav, 10/2000 - 6-
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7. What was the result of the case? (For example: Was the case dismissed? Was there
judgment in your favor? Was the case appealed?) MO ME

 

 

 

 

 

 

 

c. Have you filed other lawsuits in state or federal court?
On
other x
clalme Yes No ,
D. . Hyouranswer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If

there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
the same format.)

 

 

 

 

 

1. Parties to the previous lawsuit:
| Plaintiff Alo ME
Defendants MO ve
2. Court (if federai court, name the district; if state court, name the county) ASO /V YG
3, Docket or Index number MO ME
4, Name of Judge assigned to your case__ A/D. AVE
5. Approximate date of filing lawsuit ALO ALE
6. Is the case still pending? Yes No K

 

If NO, give the approximate date of disposition AZO ME

7. What was the result of the case? (For example: Was the case dismissed? Was there
judgment in your favor? Was the case appealed?) AD Ach

 

 

I declare under penalty of perjury that the foregoing is true and correct.

(
Signed this @ @ day of ANU L. % ,20_tt.

e
Signature of Plaintiff withows Pyne

Inmate Number F al O3 0 2

Institution Address 9c WP Hoe ad X

i200 MOLY Chic Ptive

: Gé SY 2
Pas L&6 | ~ 49> TEGO

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Note: All plaintiffs named in the caption of the complaint must date and'sign the complaint and provide

 

their inmate numbers and addresses.

I declare under penalty of perjury that on this h i day of oO Uly 20_( 4% 1am delivering
this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the ,

Eastern District of Pennsylvania.

Signature of Plaintiff: Mich. ol f ) V0

Rey, 10/2009 - B-
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 11 of 51

MICHAEL GREEN
DOC: FW-#0302
SCI PHOENIX
1200 MOKYCHIC DRIVE
COLLEGEVILLE, PENNSYLVANIA 19426

JULY ie, 2019
To: United States District Clerk's Office
Eastern District
James A. Bye Federal Courthouse
601 Market Street, Room: #2609
Philadelphia, Pennsylvania 19106-1797

RE: Michael Green v. C.O. Klepacki
Docket Ne.:

Dear U.S. Clerk of Courts: (Eastern District):
Enclosed for filing, is an Original, and one, (1) copy of Plaintiff's 42 U.S.C. Section 1983 Civil

Complaint, in the above-captioned matter,

Also enclosed, is a copy to be served upon Defendant Klepacki, can you please date stamp and file

these legal documents on the docket entry sheet.

 

 

Respectfully submitted,
/s/Michael Green
Michael Green
Plaintiff
Pro-Se
iS
Date: July 39, 2019

c.c.file

* Plaintiff invokes, "Prisoner's Mailbox Rule," Perry v. DiGulielmo, 169 Fed. App'x. 134, 136, N.#3,
(3D Cir. 2006), Burns v. Morton, 134 F.3D 109, 113, GD Cir. 1998), as timely filed from date at
SCI Phoenix State Correctional Facility, outgoing mail to Judicial Court and Clerk, and all parties.
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AUTHORIZATION

(Prisoner's Account Only)

Case No, a o 3 i 8 3

 

 

NOTE: Completing this authorization form satisfies your obligation under 28 U.S.C,
§ 1915(a)(2) to submit a certified copy of your trust fund account.

 

 

 

‘ * . 4 1
L Mach wel Nar hal , request and authorize the agency holding me in custody

 

to send to the Clerk of Court, United States District Court for the Middle District of Pennsylvania, a
certified copy of the statement for the past six months of my trust fund account (or institutional equivalent)
at the institution where I am incarcerated. I further request and authorize the agency holding me in custody

to calculate and disburse funds from my trust account (or institutional equivalent) in the amounts specified

by 28 U.S.C § 1915(b).

This authorization is furnished in connection with the filing of a civil action, and I understand that

the filing fee for the complaint is $350.00, I also understand that the entire filing fee will be deducted from

my account regardless of the outcome of my civilaction. This authorization shall apply to any other agency

into whose custody I may be transferred.

(5

Date: 3 it # @ 20 19

Wacd ost wae |

ew *

Signature of Prisoner

 
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U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See "Instructions for Service of Process by U.S. Marshal”
PLAINTIFF COURT CASE NUMBER
Micdabh GREEN
DEFENDANT TYPE OF PRO CESS
C-O, (C12 Paci Civil AcCt(ey- LAW

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE C.O. ¢LB PACK

 

 

 

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code} { G Y 2 ie
SCT PHob AN {200 novreuic, DO eoCtbbeviitLe, PA,
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285 (

 

[ Michwakl b6hekw Nomber of parti tobe
poct FWw-osoa ved in this eas
oe Eee served in this case {
j2vo Moy Chic Of,

 

 

 

 

: . Check for service ,
| cedce Gevuiire,; PA, ITKZG om USA N/A
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (nel iness and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):
Fold Fold

 

 

CO. KLE PACK CAM BE SeRUGH AT SCT PhoRWiX
(200 MOLYCIC Piva, COLLE6GEWiLA, Pa. LY4¥2ZE.

Pur Cbs YOU + T&Jo

 

 

 

 

 

. Signature of Attomey other Originator requesting service on behalf of: PLAINTIFE TELEPHONE NUMBER DATE (5
‘ Cverenpant |iqiol- “oG~ TEFO | [- BR- 2019
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
T acknowledge receipt for the total | Total Process ; District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
{Sign only for USM 285 if more
than one USM 285 is submitied) No. No.

 

 

 

 

 

 

 

 

 

Thereby certify and return that J LI have personally served , Ld have legal evidence of service, [] have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

mr hereby certify and retum that I am unable to locate the individual, company, corporation, ete. named above (See remarks below)

 

 

Name and title of individual served (ifnof shown above) F] A person of suitable age and discretion
then residing in defendant's usual place
. of abode
Address (complete only different than shown above} Date Time q
am
Oo pm

 

 

Signature of U.S. Marshal or Deputy

 

 

 

 

 

 

 

 

 

 

Service Fee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits Amount owed to U.5, Marshal* or
including endeavors) (Amount of Refand*)
$0.00
REMARKS:
Heensiieeomken 1. CLERK GF THE COURT PRIOR EDITIONS MAY BE USED

2, USMS RECORD
3. NOTICE OF SERVICE
4, BILLING STATEMENT*: To be retumed to the U.S. Marshal with payment,
ifany amount is owed. Please remit promptly payable to U.S. Marshal. Form USM-285
5, ACKNOWLEDGMENT OF RECEIPT Rev. 11/13
+

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IMPORTANT NOTICE TO PRISONER: RETURN THIS FORM TO THE
CLERK’S OFFICE ALONG WITH YOUR COMPLAINT AND SIGN EITHER
PART 1 OR PART 2

(Complete only one section of this Form)

Michael Seren
Plaintiff(s)

19 3123

VS. Case No,

CO K\edac KX

' Defendant(s)

PART 1; CONSENT TO JURISDICTION BY
UNITED STATES MAGISTRATE JUDGE

In accordance with the provisions of Section 636(c)(1) of Title 28, United States Code, I
voluntarily consent to havea United States Magistrate Judge conduct any and all further proceedings
in the case, including trial and entry of a final judgment, with direct review by the United States
Court of Appeals for the Third Circuit if an appeal is filed.

iS
Date: DOCY @@, 20 (4

 

 

PART 2; DISTRICT JUDGE OPTION
Pursuant to Section 636(c)(2) of Title 28, United States Code, I acknowledge the availability
ofa United States Magistrate Judge but I elect to have this case randomly assigned to a United States
District Judge.

Date:

 

 

Signature

Print Name:

 
 

 

 

 

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FORMS TO BE COMPLETED BY PRISONERS FILING A CIVIL RIGHT :
UNDER 42 U.S.C, § 1983 or 28 U.S.C. § 1331

 

 

 

COVER SHEET

 

 

 

THIS COVER SHEET CONTAINS IMPORTANT INFORMATION ABOUT FILING A COMPLAINT
AND YOUR OBLIGATIONS IF YOU DO FILE A COMPLAINT. READ AND COMPLETE THE

. COVER SHEET BEFORE YOU PROCEED FURTHER.

Inbckinbieebibiebbkbbiokiiiok kajalesedaibialsisiuiseaeseieaelokekkkkksiieseleielokelakseae sealers sksaeekoksekae seep

The cost for filing a civil rights complaint is $350.00.

If you do not have sufficient funds to pay the full filing fee of $350.00 you need permission to. proceed
in forma pauperis. However, the court will assess and, when funds exist, immediately collect an initial

partial filing feé of 20 percent of the greater of:

I) the average monthly deposits to your prison account for the past six months; or

2) the average monthly balance in your prison account for the past six months,

Thereafter, the institution in which you are incarcerated will be required to make monthly payments of
20% of the preceding month's deposits credited to your account until the entire filing fee is paid,

CAUTION: YOUR OBLIGATION TO PAY THE FULL FILING FEE WILL CONTINUE
REGARDLESS OF THE OUTCOME OF YOUR CASE, EVEN IF YOUR COMPLAINT IS

DISMISSED BEFORE THE DEFENDANTS ARE SERVED.

He a ee ae a SS oe ea a aoe aoa aaa a sooo sa ae aa aes eke

1, You shall file a complaint by completing and signing the attached complaint form and mailing
it to the Clerk of Court along with the full filing fee of $350.00. (In the event attachments are needed to
complete the allegations in the complaint, no more than three (3) pages of attachments will be allowed.)
If you submit the full filing fee along with the complaint, you DO NOT have to complete the rest of the
forms in this packet. Check here if you are submitting the filing fee with the complaint form. ___

. 2. If you cannot afford to pay the fee, you may file a complaint under 28 U.S.C. § 1915 without
paying the full filing fee at this time by completing the following: (1) Complaint Form; (2) Application
To Proceed In Forma Pauperis; and (3) Authorization Form. You must properly complete, sign and

submit al three standard forms or vour complaint may be returned to you by the Clerk of Court. Check
here if you are filing your complaint under 28 U.S.C. § 1915 without full prepayment of fees. X_

Please Note: If your case is allowed to proceed and you are awarded compensatory damages against a
. correctional facility or an official or agent of a correctional facility, the damage award will first be used
to satisfy any outstanding restitution orders pending. Before payment of any compensatory damages,
reasonable attempts will be made to notify the victims of the crime for which you were convicted
concerning payment of such damages. The restitution orders must be fully paid before any part of the

award goes to you.

DO NOT DETACH THE COVER SHEET FROM THE REST OF THE FORMS
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL GREEN,
Plaintiff

C.0, KLEPACKI,
Defendant

CIVIL ACTION-LAW

  

(JURY TRIAL REQUESTED)

HONORABLE U.S. DISTRICT JUDGE

 

PLAINTIFF'S 42 U.S.C, SECTION 1983 CIVIL COMPLAINT

 

By: Michael Green

Plaintiff

Pro-Se

DOC: FW-#0302

SCI Phoenix

1200 Mokychic Drive
Collegeville, Pennsylvania
19426

PH: (610)-409-7890
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL GREEN, :
Plaintiff - CIVIL ACTION-LAW
Docket No.: 1 9 3 1 2 3
Vv. : (JURY TRIAL REQUESTED)

HONORABLE U.S, DISTRICT JUDGE

C.0, KLEPACKI,
Defendant

PLAINTIFF'S 42 U.S.C, SECTION 1983
CIVIL COMPLAINT.

PLAINTIFF ALLEGES:

I. JURISDICTION

1. This Tort Action arises under The Eighth, (8th) Amendment of The United States Constitution,
and under Federal Law, particularly under The Civil Rights Act of 1871, under 42 U.S.C. Section

1983.

2. This Honorable Court has Original and Subject Matter Jurisdiction, under 28 U.S.C, Section

1343,
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 18 of 51

I. VENUE

3. Venue of this case is proper under 28 U.S.C. Section 1343, and 28 U.S.C Section 139(b)(2),

under TORT LAW.

IH. PARTIES

4, Plaintiff Michael Green, is an individual presently incarcerated at The State Correctional
Institution, Phoenix, a DOC Facility, located at 1200 Mokychic Drive, Collegevilic, Pennsylvania

19426. Phone Number is (610)-409-7890.

5. Defendant C.O. Klepacki, is a Correctional Officer at The State Correctional Institution,
Phoenix, a DOC Facility, located at 1200 Mokychic Drive, Collegeville, Pennsylvania
19426, Phone Number is (610)-409-7890, Defendant Klepacki, is being sued in her individual

capacity.

6, Each and all acts committed by Defendant Klepacki, were done under The Color of State
Law, pretense of statutes, ordinances, regulations, customs, anfd ususages of The Pennsylvania
Department of Corrections, Commonwealth of Pennsylvania, and the authority of Defendant

Klepacki, as a Prison Official, and as an agent for The Pennsylvania Department of Corrections.
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IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

_ 7, The purpose of exhausting administrative remedies is to allow Prison Officials the opportunity\

to correct its own mistakes before it is held into Court.

8. Under The Prison Litigation Reform Act of 1996, ("PLRA), a prisoner is required to pursue all
avenues of relief available within The Prison's Grievance System before bringing a Federal Civil
Rights action concerning prison conditions. See, 42 U.S.C. Section 1997(e)(a); Booth v. Churner,
206 F.3D 289, 291, (3D Cir. 2000), aff'd, 532 U.S. 731, 121 8.Ct. 1819, 149 L.Ed. 2D 958, (2001).
The Exhaustion Requirement is mandatory. See, Williams v. Beard, 482 F.3D 637, 639, (3D Cir.
2007); See also Booth, 532 U.S. at 741, (Holding that PLRA's Exhaustion Requirement applies
"regardless of the relief offered through administrative procedures"); Nyhuis v. Reno, 204 F.3D
65, 67, (3D Cir. 2000)(Same). In order to exhaust remedies, a Plaintiff must pursue a grievance
through Final Administrative Review. See, Salley v. Pa. Dept. of Corr., 181 Fed. App’x. 258,

264, (3D Cir, 2006).

9, The Exhaustion Requirement is mandatory. See, Williams v. Beard, 482 F.3D 637, 639,
(3D Cir, 2007). "I]t is beyond the power of this Court.., to excuse compliance with The
Exhaustion Requirement, whether on the ground of futility, inadequacy or any other basis."

See, Nyhuis v, Reno, 204 F.3D 65, 73, (3D Cir. 2000).
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10. Failure To Exhaust Administrative Remedies is an affirmative defense that must be pleaded and
proven by The Defendant. See, Smalls v. Camden Cnty., 728 F.3D 265, 268, (3D Cir, 2013), ("Failure
To Exhaust is an affirmative defense The Defendant must plead and prove; it is not a pleading
requirement for The Prisoner-Plaintiff."); Ray v. Kertes, 285 F.3D 287, 295, (3D Cir. 2002), "Prison
Officials are likely to have greater legal expertise and, as important, superior access to Prison

Administrative Records in comparison to Prisoners.")(Alteration Omitted).

11. Moreover, The Exhaustion of Administrative Remedies, must also be proper. See, Woodford v.
Ngo, 548 U.S. 81, 89-95, 126 S.Ct. 2378, 165 L.Ed. 2D 368, (2006). "Proper exhaustion demands
compliance with an agency's deadlines and other critical procedural rules because no adjudicative system
can function effectively without imposing some orderly structure on the course of its proceedings."
Woodford, 548 U.S. at 93, "A Procedural Default by The Prisoner, either through late or improper
filings, bars The Prisoner from bringing a claim in Federal Court unless equitable considerations warrant
review of the claim." See, McKinney v. Kelchner, No.: 1:CV-05-0205, 2007 U.S. Dist. LEXIS 71958,
2007 WL 2852373, at *3, (M.D. Pa, Sept. 27, 2007)(Citing, Spruill v. Gillis, 372 F.3D 218, 227-232,
(3D Cir. 2004)). A Procedural Default for the failure to properly exhaust administrative remedies may be
excused, however, if The Prisoner can show that a particular remedy or procedural requirement was
unavailable. Berry, 283 Fed. App'x. at 4-5, ("(W]e made clear... that The PLRA requires exhaustion of

all available remedies, not all remedies.").
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"A Grievance Procedure is not available even if one exists on paper, if The Defendant Prison Officials
somehow prevent a Prisoner from using it." See, Mitchell v. Horn, 318 F.3D 523, 529, (3D Cir. 2003).
Thus, "[i]n the absence of competent proof that an Inmate was misled by Correctional Officials, or some
other extraordinary circumstances, Inmate Requests to excuse a failure to exhaust are frequently rebuffed
by The Courts." See, Mayo v. Wetzel, No.: 13-CV-1174, 2015 U.S, Dist. LEXIS 102079, 2015 WL

4643137 at *9, (M.D. Pa. August 3, 2015).

12. Based on the earlier discussion of The PLRA's Legislative History, [...] Congress seems to have

three, (3) interrelated objectives relevant to this inquiry here:

(A). To return control of The Inmate Grievance process to Prison Administrators;

(B). To encourage development of an administrative record, and perhaps settlements, within The Inmate

Grievance Process;

(C). To reduce the burden on The Federal Courts by erecting barriers to Frivolous Prisoner Lawsuits.
See, Porter v. Nussle, 534 U.S. 516, 122 S.Ct. 983, 152 L.Ed. 2D 12, (2002); Concepcion v. Morton,

306 F.3D 1347, GD Cir. 2002).
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13. On February 1, 2019, The Plaintiff appealed Misconduct #D010642, from The Hearing Examiner of

SCI Phoenix.

14, On February 8, 2019, The Program Review Committee, (PRC), from SCI Phoenix, denied The

Plaintiffs Appeal of Misconduct #D010642.

15. On February 13, 2019, The Plaintiff Appealed the denial of his appeal from The PRC, to The

Facility Manager, (Superintendent), of SCI Phoenix, Mrs, Tammy Ferguson.

16. On February 21, 2019, Mrs. Ferguson denied The Plaintiff's Appeal of Misconduct #D010642.

17, On February 28, 2019, The Plaintiff appealed the denial of his appeal from The Facility Manager,

(Superintendent), of SCI Phoenix, (Mrs. Ferguson), to The Chief Hearing Examiner of The Pennsylvania

Department of Corrections, (PADOC), Mr. Zachary J. Mostlak.

18. On March 25, 2019, Mr. Moslak denied The Plaintiffs Appeal of Misconduct #D010642,

19. By clear and convincing evidence, The Plaintiff exhausted all available administrative remedies
pertaining to Misconduct #D010642, in accordance with The Pennsylvania Department of Corrections

Policy, DC-ADM 801.
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V. FACTS

20, On January 28, 2019, at approximately 8:00 p.m., during block-out on the unit, The Plaintiff went to

his cell, to retreive his bowl so he could obtain hot water to make a meal.

21, Out of nowhere, Defendant Klepacki, in an aggressive manner, blocked the entrance way to The

Plaintiff's Cell, and yelled, threatened, and ordered The Plaintiff, not to leave his cell.

22. The Plaintiff asked Defendant Klepacki, why he couldn't leave his cell, and why Defendant

Klepacki was blocking the entrance to The Plaintiff's Cell.

23. Defendant Klepacki told The Plaintiff, "Because I can, Mr. Green, I run this prison, you do what J
tell you to do, you stupid nigger, so you thought telling on me to The Block Sgt. about you getting your
i.d. and medication was going to something huh? well it did, it got your dumb nigger ass locked in your
cell for the rest of the night, if you even try to exit this cell, I will spray you with this pepper spray, and
I'm going to file a false misconduct against you, stating you were aggressive, tried to rape me, and.
physically harm me, and the administration here at SCI Phoenix, and Mechanicsburg, will believe me

over you, so take your nigger ass into your cell, or I'm going to fuck you up with this pepper spray!"

24. It must be duly noted, and the video evidence proves this, The Plaintiff was already in his cell, and
was no threat, didn't act aggresively towards Defendant Klepacki, nor did The Plaintiff use any foul or

abusive language towards Defendant Klepacki.
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25. Then, Defendant Klepacki, sprayed The Plaintiff with pepper spray in The Plaintiff's Face, causing

The Plaintiff to lose his balance, and hit his head on the floor.

26. Defendant Klepacki, wrote Misconduct #D010642, against The Plaintiff, for allegedly violating the

following rules and regulations of SCI Phoenix:

#15: Threatening An Employee Or Their Family With Bodily Harm,

#35; Refusing To Obey An Order.

27, On February 1, 2019, in front of Mrs. Kerri Cross, who is The Assistant Chief Grievance
Coordinator for The Pennsylvania Department of Corrections, found The Plaintiff guilty of all charges,

and sentenced The Plaintiff, to thirty, (30) days in The Restrictive Housing Unit, (RHU).

28. Defendant Klepacki, has a custom, policy, pattern, practice, whereby Defendant Klepacki, used
excessive force, retaliation, against The Plaintiff, Defendant Klepacki instilled fear, intimidation, abuse
of power, against The Plaintiff, because Defendant Klepacki told The Plaintiff, "I can use my pepper

spray on you at anytime, and The Department will back me up.”

29. Such customs, policy, pattern, practice, by Defendant Klepacki, puts The Plaintiff in harms way,
because Defendant Klepacki claims she can use excessive force, retaliation, at anytime against The

Plaintiff, and not suffer any consequences for her illegal actions.
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30. Defendant Klepacki, has a custom, policy, pattern, practice of abuse, by being deliberately
indifferent towards The Plaintiff, by using excessive force against The Plaintiff, by pepper spraying The
Plaintiff, who complied with Defendant Klepacki's Order, of being in his cell, at no time was The
Plaintiff was aggressive, violent, disobedient, towards Defendant Klepacki, who was the aggressor, and

her actions were caught on video.

31. Asa result of Defendant klepacki's Actions towards The Plaintiff, The Plaintiff continues to suffer

at The hands of Defendant Kiepacki:

a). Blurred Vision, itchy, burning, redness in The Plaintiff's Eyes, where Defendant Klepacki pepper

sprayed The Plaintiff;

b). Psychological and Emotional Trauma;

c). Mental Anguish;

d). Embarassment, Humiliation, Frustration, Anger, Ridiculed, Humored, because Defendant Klepacki

used excessive force and retaliation against The Plaintiff;

e). Pain and Suffering;
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f). Emotional Trauma, Depression, Anxiety Disorder, in fear of Defendant Klepacki using excessive
force and retaliation against The Plaintiff, at anytime she feels like it, whenever The Plaintiff reports

Defendant Klepacki's Illegal Behavior to her superiors.

32, Defendant Klepacki’s Conduct ,hereinbefore described was outrageous and beyond the decency ina
civilized society. Further, the rights of The Plaintiff as more fully described herein were well established
and a reasonable Prison Official like Defendant Klepacki, would have known her actions were violating

those rights.

VI. CLAIMS
33. The preceding paragraphs are incorporated herein by reference as though fuily set forth.
A. LEGAL STANDARDS

34, A Federal Court may properly dismiss an action sua sponte under the screening provisions of 28
USS.C. Section 1915(e)(2)(b) and 28 U.S.C. Section 1915(a)(b), if "The action is frivolous or malicious,
fails to state a claim upon which relief may be granted, or seeks monetary relief from a Defendant who is
immune from such relief." See, Ball v. Famiglio, 726 F.3D 448, 452, (3D Cir. 2013); See also, 28
U.S.C, 1915(e)(2)(In Forma Pauperis Actions); 28 U.S.C, Section 1915(a)(Actions In Which Prisoners |
Seek Redress From Governmental Defendant); 42 U.S.C. Section 1997(e)(Prisoner Actions Brought

With respect To Prison Conditions). The Court must accept all factual allegations in a complaint as true

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and take them in the light most favorable to a Pro-Se Plaintiff. See, Phillips v. County of Allegheney,
515 F.3D 224, 229, (3D Cir. 2008); Erickson v. Pardus, 551 U.S. 89, 93, (2007). Because A Plaintiff
proceeds Pro-Se, his pleading is liberally construed and his Complaint, "however inartfully pleaded, must
be held to less stringent standards than formal pleadings drafted by lawyers." Erickson, 551 U.S. at 94,

(Citations Omitted).

35. An action is frivolous if it "lacks arguable basis either in law or in fact." See, Neitzke v. Williams,
490 U.S. 319, 325, (1989). Under 28 U.S.C. Section 1915(e)(2)(B)(G), and 28 U.S.C. Section 1915(a)(b)
(1), a Court may dismiss a complaint as frivolous if it is "based on an indisputably meritless legal theory
or a ‘clearly baseless' or ‘fantastic or delusional’ factual scenario." Neitzke, 490 at 327-328; See also,
Wilson v. Rackmill, 878 F.2D 772, 774, (3D Cir. 1989); Deutsch v, United States, 67 F.3D 1080, 1091-
1092, (3D Cir. 1995)(Holding frivolous a suit alleging that Prison Officials took an Inmate's Pen and

refused to give it back).

36. The legal standard for dimissing a complaint for failure to state a claim pursuant to 28 U.S.C.
Section 1915(e)(2)(B)(ii) and 28 U.S.C. Section 1915(a)(b)(1), is identical to the legal standard used
when deciding Rule 12(b)(6) motions, See, Tourscher vy. McCullough, 184 F.3D 236, 240, (3D Cir.
1999)(Applying Fed. R. Civ. P. 12(b)(6) standard to dismissal for failure to state a claim upon which
relief may be granted pursuant to the screening provisions of 28 U.S.C, section 1915, and 28 U.S.C. 1915
(a), The Court must grant a Plaintiff, leave to amend his complaint, unless amendment would be

inequitable or futile. See, Grayson v. Mayview State Hosp., 293 F.3D 103, 114, (3D Cir, 2002).

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37, A Complaint may be dismissed only if, accepting the well-pleaded allegations in the complaint as
true and viewing them in the light most favorable to The Plaintiff, a Court concludes that those
allegations "could not raise a claim of entitlement to relief." See, Bell Atl. Corp. v. Twombly, 550 U.S.
544, 558, (2007). Though ‘detailed factual allegations’ are not required, a complaint must do more than
simply provide ‘labels and conclusions’ or 'a formulaic recitation of the elements of a cause of action,"
See, Davis y. Abington Mem'] Hosp., 765 F.3D 236, 241, (3D Cir. 2014)(internal quotation marks
omitted). In addition, a complaint must contain sufficient factual matter, accepted as true, to a claim to
relief that is plausible on its face. See, Williams v. BASF Catalysts LLC, 765 F.3D 306, 315, GD Cir.
2014)(Citing, Ashcroft y. Iqbal, 556 U.S. 662, 678, (2009) and Twombly, 550 U.S. at 570). Finally, a
Plaintife must plead facts sufficient to show that a claim has substantive plausibility. Sec, Johnson v.
City of Shelby, 135 S.Ct. 346-347, (2014). A complaint may not be dismissed for imperfect statements

of the legal theory supporting the claim asserted. See, [.D. at 346.

38. Under the pleading regime established by Twombly and Igbal, a Court reviewing the sufficiency of

a complaint must take three, (3) steps:
a). Take note of the elements The Plaintiff must plead to state a claim;

b). Identify allegations that, because they are no more than conclusions, are not entitled to the

assumption of truth; and;

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c). Where there are well-pleaded factual allegations, The Court should assume their veracity and then
determine whether they plausibly give risc to an entitlement to relief. See, Connelly v. Lane Const,
Corp., 809 F.3D 780, 787, (3D Cir. 2016). Elements are sufficiently alleged when the facts in the
complaint 'show’' that The Plaintiff is entitled to relief. See, Igbal, 556 U.S. at 679, (Citing, Fed. R. Civ.
P. 8(a)(2)). Deciding whether a claim is plausible will be a ‘context-specific task that requires The

Reviewing Court to draw on its judicial experience and common sense.’ Id.

39, By clear and convincing evidence, in Plaintiff's Complaint, it will demonstrate through caselaw, and
exhibits, Defendant Klepacki's Actions, using excessive force, and retaliation, by spraying pepper spray
in The Plaintiff's Face, causing severe injury to The Plaintiff's Eyes, causing blindness, violated The
Plaintiffs Eighth, (8th) Amendment Right against cruel and unusual punishment, and The Plaintiff's

First, (ist) Amendment Right to be free from retaliation, and access to The Courts.

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COUNT I
CIVIL RIGHTS
EXCESSIVE FORCE
EIGHTH, (8th) AMENDMENT OF THE UNITED STATES CONSTITUTION
PLAINTIFF vy. DEFENDANT KLEPACKI

40. The preceding paragraphs are incorporated herein by reference as though fully set forth.

41. Acts 'Under The Color of State Law,' of a State, include not only acts done by State officials
within the bounds or limits of their lawful authority, but also acts done beyond the bounds of their lawful
authority provided that, in order for unlawful acts of an State Official to be done 'Under The Color of
Any Law,’ the unlawful acts must be done while such official is purpoting or pretending to act in the
performance of his/her official duties that is to say, the unlawful acts must consist in an abuse or misuse
of power which is possessed by the officials only because he/she is an official; and the unlawful acts
must be of such nature or character, and be committed under such circumstances, that they would not
have occured but for the fact that the person committing them was an official then and there exercising
his/her official powers outside the bounds of their duties, and lawful authority, See, 42 U.S.C. Section

1983.

42, The conduct of Defendant Klepacki, as set forth above, acting ‘Under The Color of State Law!
and outside the scope of her duties as a Correctional Officer, intended to harm The Plaintiff, by spraying
pepper spray in The Plaintiff's Face, causing severe injuries to The Plaintiff's Eyes, for no reason at all,
and claiming she doesn't have to have a reason to pepper spray The Plaintiff, and she could do this at
anytime, and have the support of The Pennsylvania Department of Corrections, support her actions.

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43, Defendant Klepacki, showed no regard of the substantial and/or unjustifiable risk of causing harm to
The Plaintiff, by using excessive force and retaliation, by spraying pepper spray in The Plaintiff's Face,

causing severe injury and blindness to The Plaintiff's Eyes, for no reason at all.

44, Because of Defendant Klepacki's Actions, or lack of action, when The Plaintiff entered SCI
Phoenix, his vision was 20/20, after Defendant Klepacki sprayed pepper spray in The Plaintiff's Face,
causing severe injuries to The Plaintiff's Eyes, when The Plaintiff went to The Medical Department at
SCI Phoenix, he was examined by medical staff, who ran test on The Plaintiff, and discovered The
Plaintiff's Vision worsened from 20/20 vision, to 20/50 vision, The Plaintiff start seeing 'dots' in his
vision, The Medical Staff at SCI Phoenix, told The Plaintiff, he would need extensive eye surgery, and
eventually The Plaintiff would go blind, because of Defendant Klepacki spraying pepper spray in The

Plaintiff's Face, causing severe injuries to The Plaintiff's Eyes.

45. Defendant Klepacki violated The Plaintiff's Constitutional Right To Be Free From Excessive Force,
Cruel And Unusual Punishment, Retaliation, under The Eighth, (8th), and First, (Ist) Amendment of The

United States Constitution.

46. Excessive Force Claims brought under The Eighth, (8th) and Fourteenth, (14th) Amendments are
analyzed under the same standard. This type of claim ‘includes both an objective component, whether the
deprivation of a basic human need is sufficiently serious, and a subjective component, whether the
officials acted with a sufficiently culpable state of mind.’ See, Gay v. Stevens, No. #10-6354, 2011 U.S.
Dist. LEXIS 126555, 2011 WL 5276535, at *4, (D.N.J. Nov. 2, 2011)(Citing, Wilson v. Seiter, 501 U.s.
294, 298, 111 S.Ct. 2321, 115 L.Ed. 2D 271, (1991)).

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(Citing, Hudson v. McMillian, 503 U.S. 1, 8, 112 S.Ct. 995, 117 L.Ed, 2D 156, (1992)). The crux of
the subjective component is the principle that "only the unnecessary and wanton infliction of pain
implicates" The Constitution. Id, (Citing, Farmer y. Brennan, 511 U.S. 825, 834, 114 8.Ct. 1970, 128

L.Ed. 2D 811, (1994)).

47, When evaluating the subjective component of an excessive use of force claim, a District Court must
determine "whether force was applied in a good faith effort to maintain or restore discipline or
maliciously and sadistically for the very purpose of causing harm." See, Whitley v. Albers, 475 U.S.
312, 320-321, 106 S.Ct, 1078, 89 L.ED. 2D 251, (1986). To determine whether force was used in "good
faith" or "maliciously and sadistically," The District Court should examine several factors:

a). The need for the application of force;

b). The relationship between the need and the amount of force that was used;

c). The extent of the injury inflicted;

d). The extent of the threat to the safety of Staff and Inmates, as reasonably perceived by Prison

Officials; and;
e). Any efforts made to temper the severity of a forceful response. See, Gay, 2011 U.S. Dist. LEXIS

126555, 2011 WL 5276535, at *5, (Quoting, Brooks v. Kyler, 204 F.3D 102, 106, (3D Cir, 2000).

Accordingly, not all use of force is "excessive" and rises to the level of a Constitutional Violation. ID.

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48, In the instant case, The Plaintiff's Excessive Force Case is similiar to Mueller v. Centre County,
No.: #09-1880, 2009 U.S. Dist. LEXIS 122379, 2009 WL 4912305, (M.D. Pa. Nov. 23, 2009). In fact,
The Plaintiff alleges under the penalty of perjury, what happened between The Plaintiff, and Defendant

Klepacki:

"On January 28, 2019, I was in my cell, Defendant Klepacki came to my cell in an angry and
aggressive manner, Defendant Klepacki blocked the doorway entrance to my cell, Defendant Klepacki
was yelling, threatening, using obscene language towards me, and stated I couldn't leave the cell, I asked
her why, Defendant Klepacki stated, "Since you told on me to my superiors, and I got in trouble for it,
your black ass will remain in your cell, I see you have snitching in your blood, it must run in your family,
but don't worry, I'm going to show you who run things here at SCI Phoenix," Then, Defendant Klepacki,
pulled out her can of pepper spray, and sprayed me in my face, the pepper spray blinded me, and was
burning my lungs, I immediately fell to the floor, hitting my head violently, Defendant Klepacki was
laughing at me, in a sadistic way, saying, "So what's up now nigger? who's your daddy now nigger? and
continued to spray me with the pepper spray, at no time did I resist, threatenen, became aggressive
towards Defendant Klepacki, disobeyed any order from Defendant Klepacki, all of Defendant Klepacki,
was captured on video footage, and was overlooked by The Employees of The Pennsylvania Department

of Corrections. Then Defendant Klepacki filed a false misconduct against me."

49, By clear and convincing evidence, Defendant Klepacki ussed excessive force against The Plaintiff,
in retaliation because The Plaintiff told Defendant Klepacki's Superiors, she wouldn't allow The Plaintiff
to go to medication line, which The Plaintiff had the right to, and Defendant Klepacki got in trouble for

it.

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COUNT HE
CIVIL RIGHTS
RETALIATION
FIRST, (1st) AMENDMENT OF THE UNITED STATES CONSTITUTION
PLAINTIFF v. DEFENDANT KLEPACKI

50. The preceding paragraphs are incorporated herein by reference as though fully set forth.

51. A prisoner alleging retaliation in violation of The United States Constitution, must satisfy three, (3)

elements:

a). That he engaged in a constitutionally protected activity. See, Rauser v. Horn, 241 F.3D 330, 333,

(3D Cir. 2001);

b). That he suffered some adverse action at the hands of Prison Officials sufficient to deter a person of
ordinary firmness from exercising his Constitutional Rights. See, Allah v. Seiverling, 229 F.3D 220,

225, (3D Cir. 2000)(Citing, Suppan y, Dadonna, 203 F.3D 228, 235, (3D Cir. 2000)); and;

c). That "his constitutionally protected conduct was a 'substantial or motivating factor’ in the decision to

"take the adverse action against him." Rauser, 241 F.3D at 333, (Quoting, Mount Healthy Bd, of Educ.

 

y. Doyle, 429 U.S, 274, 287, 97 S.Ct. 568, 50 L.ED. 2D 471, (1977)). Ifa Plaintiff establishes a prima
facie case of retaliation, the burden then shifts {2019 U.S. DIST. LEXIS 10} to The prison Officials to
demonstrate, by a preponderance of the evidence, that their actions would have been the same, even if

The Plaintiff were not engaging in The Constitutionally Protected Activities.

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See, Rauser, 241 F.3D at 334, ("Once a Prisoner demonstrates that his exercise of a Constitutional
Right was a substantial or motivating factor in the challenged decision, The Prison Officials may still
prevail by proving that they would have made the same decision absent the protected conduct for reasons

reasonably related to a legitimate penological interest.").

52. Under the first, (Ist) prong of Rauser, The Plaintiff was engaged in a constitutionally protected
activity. The Plaintiff is allowed to go to the medication line, to pick up his medication for his ailments,
Defendant Klepacki, tried to prevent The Plaintiff, from going to the medication line, The Plaintiff asked
Defendant Klepacki's Supervisors, if he could pick-up his medication, because Defendant Klepacki
wouldn't allow The Plaintiff to receive his medication, The Supervisors verified with The Medical
Department at SCI Phoenix, that The Plaintiff does receive medication, and the medication line was
open, and allowed The Plaintiff, to get his medication, then The Supervisors told Defendant Klepacki,
she couldn't prevent The Plaintiff from receiving his medication, this constitutes constitutionally

protected activity.

53. Under the second, (2nd) prong of Rauser, is The Plaintiff suffered adverse action at the hands of
Prison Officials sufficient to deter a person of ordinary firmness from exercising his Constitutional
Rights. in the instant case, Defendant Klepacki, throughout this episode, was the aggressor towards The
Plaintiff, first, Defendant Klepacki came to The Plaintiff's Cell, in an aggressive manner, used abusive,
threatening language towards The Plaintiff, then for no legitimate penological interest, pepper sprayed
The Plaintiff in his face, causing severe injuries to The Plaintiff's Eyes, Lungs, Skin, caused The Plaintiff
to fall and hit his head violently on the floor, and stated The Pennsylvania Department of Corrections

will support her actions, after seeing The Medical Department at SCI Phoenix, it was diagnosed that

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The Plaintiff's Eyesight worsened from 20/20 vision when The Plaintiff first arrived at SCI Phoenix, to
20/50 vision, and was told by Medial Staff at SCI Phoenix, over time, The Plaintiff will go blind. The
Plaintiff continues to suffer from Defendant Klepacki's Actions, occassional blindness, violent
headaches, dizziness, blurred vision, trauma, anxiety attacks, fear, nightmares. As a result of Defendant
Klepacki filing a false misconduct against The Plaintiff, he continues to suffer a raised custody level,
housed on a more restrictive unit, loss of certain privileges, loss of employment, 30 days in The

Restrictive Housing Unit, (RHU).

54. The third, (3rd) and final prong under Rauser, is The Plaintiff's Constitutionally Protected Conduct
was a ‘substantial or motivating factor' in the decision to take adverse action against The Plaintiff. Once
The Plaintiff establishes a prima facie case of retaliation, the burden shifts to The Prison Officials to
demonstrate, by a preponderance of the evidence, that their actions would have been the same, even if
The Plaintiff were not engaging in The Constitutionally Protected Activities, and the actions must be

reasonably related to a legitimate penological interest.

55, By clear and convincing evidence, Defendant Klepacki's Actions, pepper spraying The Plaintiff in
his face, for no reason at all, not only was outside the scope of her duties, since The Plaintiff posed no
threat at anytime, towards Defendant Klepacki, it clearly wasn't reasonably related to a legitimate
penological interest, and filing a false misconduct against The Plaintiff, and the adverse actions The
Plaintiff suffered because of this, shows Defendant Klepacki's Desire to severely punish, injure, The

Plaintiff.

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56. Asa result of The Civil Rights Violations, (Ist, 8th Amendment of The United States Constitution),
by Defendant Klepacki, The Plaintiff suffered a deprivation of his rights, and suffered other injuries and
damages as aforementioned and listed hereinafter,

VI. DAMAGES

57. The Plaintiff repeats and re-alleges the preceding paragraphs as though fully set forth herein.

58. Asa direct and proximate result of the above described conduct of Defendant Klepacki, The

Plaintiff in the past, suffered and will continue to suffer damages that include:

a). Severe emotional Distress and Mental Anxiety;

b). Paralyzing fear that The Plaintiff gradually losing his eyesight, and will eventually go blind, because

of Defendant Klepacki's Actions;

c). Severe Emotional Trauma;

d). Loss of enjoyment of life;

e). Depression;

21,

 
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f). Loss of valuable and inalienable rights guaranteed under Federal and State Law.

WHEREFORE, The Plaintiff seeks judgment against Defendant Klepacki, jointly and severally, and as

follows:

a). That The Court and jury, award compensatory and punitive damages, in the amount of two-million
dollars, ($2,000,000) against Defendant Klepacki, acting in her individual capacity, for using excessive
force, and retaliation, against The Plaintiff, Defendant Klepacki's Conduct was so egregious, willful,
retaliatory, outrageous, abusive, excessive, deliberately indifferent to The Plaintiff's Serious Medical
Needs, acting outside the scope of her duties, and was accompained by a wanton and ill-will disregard for

the foreseeable harm caused by this conduct as to necessitate compensatory and punitive damages;

b). That The Court and jury enter a declatory judgment against Defendant Klepacki, and find Defendant

Klepacki's Conduct was a violation of The Plaintiff's statutory Rights;

ce). That The Court and jury enter a declatory and injunctive relief as deemed appropriate by this Court

in equity;

d). That The Court and jury award The Plaintiff such declatory, actual, and nominal damages as are

allowable at law;

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e). That The Court award such attorney fees, costs and expenses, pre-and-post-judgment interests and

delay damages, the filing fees for the filing of this Court Action, and any damages as are allowable at

law,

VOL JURY TRIAL

59. The Plaintiff demands a jury trial of twelve, (12) jurors as to all issues.

Respectfully submitted,

/s/Michael Green
Michael Green
Plaintiff
Pro-Se

iS
Date: July #, 2019

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VERIFICATION

I, Michael Green, Plaintiff, Pro-Se, verifies the facts contained in this 42 U.S.C, Section 1983 Civil
Complaint, is true and correct to the best of my knowledge, information, and belief. I understand the
facts herein are verified, subject to the penalties relating to presenting fraudulent claims and making false

statements, under 18 U.S.C. Section 287, 1001, which is a fine, imprisonment, or both.

Respectfully submitted,

/s{Michael Green
Michael Green
Plaintiff
Pro-Se

 

iS
Date: July #, 2019

c.c.file

24.
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 41 of 51

PROOF OF SERVICE

I, Michael Green, Plaintiff, Pro-Se, certifies I am this day, serving the foregoing legal documents, upon
the persons, in the manner indicated below. The Manner of Service, satisfies the requirements under

Rule 25.3, of The Federal Rules of Civil Procedure.

Service By First Class Mail, addressed as follows:

Office of The U.S. Clerk of Courts
Eastern District
James A, Byrne Federal Courthouse -
601 Market Street, Room: #2609
Philadelphia, Pennsylvania 19106-1797

Office of Attorney General
Eastern District
Torts Litigation Section
21 South 12th Street, 3rd Floor
Philadelphia, Pennsylvania 19107

Pennsylvania Department of Corrections
Office of General Counsel
1920 Technology Parkway
Mechanicsburg, Pennsylvania 17050

25,

 

 

 

 

 

 
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 42 of 51

Respectfully submitted,

/sfMichael_ Green
Michael Green
Plaintiff
Pro-Se
DOC: FW-#0302
iS SCI Phoenix
Date: July #@, 2019 1200 Mokychic Drive
Collegeville, Pennsylvania
c.c. file 19426
PH: (610)-409-7890

 

U.S. Dist. Court, (Eastern District)
Attorney General Office of PA., (Eastern District)
Pennsylvania Department of Corrections, (Office of General Counsel)

26,

 
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 43 of 51

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL GREEN, :
Plaintiff : CIVIL ACTION-LAW
Docket No.:
Vv. : (JURY TRIAL REQUESTED)

HONORABLE U.S. DISTRICT JUDGE

C.0, KLEPACKI,
Defendant

PLAINTIFF'S EXHIBIT MANIFOLD

EXHIBIT "A": PLAINTIFF'S EXHAUSTION OF MISCONDUCT: #D010642
 

 

Case 2:19-cv- os) NIQA<: Document 2 Filed ovi7ha) Page 44 of 51 fT No

 

 

 

 

\ es yore
Form DC-141 Part 4 COMMONWEALTH OF PENNSYLVANIA .
Rev. 12/2017 DEPARTMENT OF CORRECTIONS D 010642
Ef MISCONDUCT REPORT fl OTHER 1 DC-ADM 801 INFORMAL RESOLUTION
be Number Name laste. Incident Time 24 Hr, Base Le ate | Date,of Re
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Auariers, Plate of Incident tee
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uf OTHER INMATES OR STAFF INVOLVED OR WITNESSES (CHECK 1 OR W)
DC Number Name | {Wy DC Number Name 1 | W

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- YOUR REARING MAY BE SCHEDULED “ANY TIME AFTER . “WisGONDUGT CATEGORY: ae of Person Serving Notice
DATE ___TIME / i
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Notice to Inmate
You are scheduled for a hearing on the allegation on tha date and time indicated or as soon thereafter as possible. You may remain silent If you wish. Anything you say
shall be used against you both at the misconduct hearing and in a court of law, if this matter is referred for criminal prosecution. If you choose to remaln silent, the
hearing committee/examiner may use your silence as evidence against you. If you Indicate that you wish to remain silent, you shall be asked no further questions, if

 

you are found guilty of a Class 1 misconduct, any pre-release status you have shall be revoked.
WHITE - DC-15 YELLOW -— Inmate : PINK — Reporting Staff Member
DC-ADM 801, Inmate Discipline Procedures Manual Attachment 1-B

Section 1 ~ Misconducts/Rufe Violations

Issued: 12/1/2017
Effective: 12/1/2017

 

 
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 45 of 51.

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DC-141, Part 2(B) - COMMONWEALTH OF PENNSYLVANIA
DISCIPLINARY HEARING Nepartment of Corrections
REPORT .
Number Name Facllity Hearing Data Hearing Time No, from Part 1-
00308, Gragry |S¢c) PHY | B-I-1¢ | OSS5 botoe+ta
INMATE O Guilty ONo Plaa VERDICT Ercuilty
PLEA _ EENOt Guilty J Other: . __ DNot Guilty
HEARI NG ACTION

 

CHARGES HIS, HAs
FINDINGS OF FACT, VERDICT, AND SANCTIONS IMPOSED —

Green pleads NorGuitty
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inhis eztt- He asked Why” and she sprayed him.

The examine Snds report to be alear anol
e¢recdible, © elie. on \-2.8-19,-Graen was oreened
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faVES ONO The inmate has heard the decision and has been foidtfie reason *
for It and what will happen.
eMYES INO Thecircumstances of the charge have been read and fully
st explained to the inmate. SEE APPENDICES
SAVES NO ~ The opportunity to have the inmate's version reported as part of ae
the record was given.

DYES '.£1NO The Inmate has been advised that within 45 days a request fora A. .
formal review may be submitted and-that this request must contain C. ;

specific reasons for the review,

 

 

Hearing Report and all appended Information must be
signed. Signature indicates finished report with

NAME(S) OF HEARING EXAMINER/COMMITTEE -
(TYPED OR PRINTED) .

 

 

 

Vern Cr O83

 

 

WHITE -DG-15 YELLOW — Inmate Cited PINK -— Staff Member Reporting Misconduct
: GOLDENROD ~ Deputy Facility Manager

DC-ADM 807, Inmate Discipline Procedures Manual
Section 4~ Disposition of Charges and Misconduet Sanctions - Atlachment 4-A

Iestiad: May 20, 2015
Effective: July 2, 2018

 

 

 
 

   

“Page 46 of 51

 

sya,

Case 2:19-cv-03{23)NIQA Document 2 Filed 07/17)

 

 

 

 

 

 

DC-141, Part 2 (E) COMMONWEALTH OF PENNSYLVANIA
Misconduct Hearing Appeal Rk. C.

DC Number Name, FD, .. No. From st
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the pel.

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| was found guilty of misconduct number .. on i
(date)

 

by the Hearing Examiner, and | wish to appeal that decision on the following grounds.

Check Area(s) Involved

(fa, the procedures employed were contrary to law, Department directives, or regulations;

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b. the punishment is disproportionate to the offense; and/or
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Fe. the findings of fact were insufficient to support the decision.

Below is a brief statement of the facts relevant to my claims(s). It includes the identity —
of all persons who may have information that may be helpful in resolving this matter.

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Inmate’s Signature Date
DC-ADM 801, Inmate Discipline Procedures Manual a
. Attachment 5-A

‘Section 5 ~ Appeals .
Issued: May 20, 2015 Qo
Effective: July 2, 2015 :
Case 2:19-cv-03123-NIOA Document 2. Filed-07/17/19 Page 47 of 51

 

bc-141, Part lit “~~ 6OMMONWEALTH OF PENNSYLVANIA
Program Review . Se Department of Corrections

 

Committee Action. - BN

X Misconduct Appeal __O Periodic Review © Other |

DC Number | - _ Name | | Facility | Date of Review. No. from DC-141, Part 1
FYV0302 _ Green ~ PHX . 1/13/49 DOi0642

 

 

 

 

 

Program Review Committee’s Decision and Rationale

On 1/28/19, inmate Green received a Class 1 misconduct for #35 Refusing to Obey an Order
-and # 15 Threatening a Staff Member. . |

On 2/1/19, inmate. Green pled not guilty to-ali charges. The HEX found him guilty of both
charges and sanctioned him to a total of 30 days.DC. | |

BASIS OF APPEAL:

A. The procedures employed were contrary to law, Department directives, or
-| regulations ne |

B. The punishment is disproportionate to the offense. .

'|C. The findings of fact were insufficient to support the decision

DISCUSSION: oo oo

Inmate Green appealed under-all areas. He arges the HEX never reviewed the video.

The PRC finds there were no procedures or policies: violated. The finding of facts were sufficient and
the report of the officer was believed over the report of the inmate. The sanction was also within the
permissible range per the charges and disposition. ——

The PRC did review the video. lt was clear from the video; Inmate Green was standing in his entrance
of his cell door. It was also clear from the video, the officer was reinforcing her words with hand
motions to go into your call. Following the administration of OC, the office was able to secure the
door... ~ oe ee

The PRC uphold the decision of the HEX. The sanction will remain unchanged.

 

Decision.Relative to PRC Review _
[1 Continue 0 Move toAC (1 Release toGP O Release Cell Restriction [ Continue.
Investigation : Fo _ oO a oo a
C1 Release to Control GRP C1 Release Medical.C] Release Diag. Center (1 Release Sent. Complete
Decision Relative to Hearing Examiner's Verdict
O Reject X Uphold G Uphold-Modify ’ O Remand back O Vacate-permit Recharge (] Dismiss
Names of Program Review Committee : Signatures So Date

 

 

 

 

 

 

 

 

 

 

 

 

Members. oe |
J.Terra,DSCS Ae | E-BAG
M. Sipple, DSCS oo MEAG — [Rf oA |
J. Sorber, DSFM oe | —— A-1e 19
WHITE —DC-15  YELLOW-—INMATE  . PINK 4S TAFF MEMBER REPORTING MISCONDUCT
— _’ . “GOLDENROD , DSPM

 

 
Case 2:19-cv-03423-NIQA Document 2 Filed O7/1 7/49, Page 48 of 51

 

 

 

 

 

 

 

DC-141, Part 2 (E) COMMONWEALTH OF pENNSY VANIA
Misconduct Hearing Appeal “Fe “4 f S Ede pe cosh Ala ants 7
pe Number . a ame ‘ Facility _ No. From Part 1
FUIGZO7 Michpel cee. af |[S@i Pax. |Daloay 2.
5/15 Z-/-/9
| was found guilty of misconduct number 5H on _#-

(date)
by the Hearing Examiner, and | wish to appeal that decision on the following grounds.

Check Area(s) Involved

 

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a a. Afie procedures employed were contrary to law, Department directives, or regulations;
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M7 ab, tie punishment is disproportionate to the offense: and/or

ef “lc. the findings of fact were insufficient to support the decision.

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of all persons who may have information that may be heipful in resolving this matter.

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Inma Afe's Signature | Date

 

DC-ADM 801, Inmate Discipline Procedures Manual

Section 5 — Appeals Attachment 5-A
fssued: May 20, 2015 . : .
Effective: July 2, 2015

 
Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19 Page 49 of 51 A

pennsylvania

DEPARTMENT OF CORRECTIONS »

 

TO: Michael Green | FW0302

 

DATE: . February 21, 2019

RE: _ Superintendent’s Response
Appeal of Misconduct # DO010642

You were found guilty of the above misconduct. You appealed on the following grounds:

A. & The procedures employed were contrary to law, Department directives, or regulations.
B, The punishment is disproportionate to the offense.

C. Hl The findings of fact were insufficient to support the decision.

 

I have reviewed this misconduct and the Program Review Committee’s decision and your appeal with the
following results:

A. Reject

Uphold the Hearing Examiner's or Unit Management Team’s Decision
Uphold the finding of guilt, but modify the punishment

Vacate the decision and remand back to the Hearing Examiner for rehearing
Vacate the decision and charge to permit recharge and rehearing

Dismiss the charge and prohibit recharge

MEO x 3
AmMoOG

RATIONALE: .
You were charged with a Class 1 Misconduct: for Charge #35 (Refusing to Obey an Order) and #15

(Threatening an Employee or Their Family with Bodily Harm). You were found guilty of both charges. You
were sanctioned to 30 days Disciplinary Custody (DC) for Charge #15 and 15 days DC (Concurrent) for
Charge #35. Your total sanction was 30 days DC, In accordance with DC-ADM 801, Inmate Discipline
Procedures Manual, Section 4.B — Disposition of Charges and Misconduct Sanctions, you may be assigned
to DC status for up to 90 days per misconduct charge. The punishment imposed is proportionate to the
offense.

You indicate that you did not threaten, use profanity, or aggression during this incident. In accordance
with DC-ADM 801 Section 3.D.4 — Misconduct Hearings, the Hearing Examiner makes determinations of
credibility. In review of the Disciplinary Hearing Report, DC-141 Part 2B, the Hearing Examiner
determined that the report of COT Klepacki was credible. The findings of fact were sufficient to support the
decision of the Hearing Examiner. ,

You further indicate that COT Klepacki was wrong for “spraying you.” All use of force incidents are
reviewed in accordance with Departmentai policy 6.3.1, Facility Security Procedures Manual, Section 32 —
Use of Force, General Provisions, and Video Recording.

The procedures employed were not contrary to jaw, Department directives, or reguiations.

It is my decision to uphold the Hearing Examiner.

TF: jss
cc! Counselor - Baldwin DC15
Employment Officer File
‘Ms. Angstadt Unit Manager ~ Golden

 

SCI-Phoenix | P. O. Box 246 | Collegeville, Pennsylvania 19426 | 610.409.7890 } WWW. pa.gov
. Case 2:19-cv-03123-NIQA Document 2 Filed 07/17/19. Page 50 of 51

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| DC-1414, Part 2 (E) COMMONWEALTH.OF PENNSYLVANIA
Misconduct Hearing Appeal Cla £ Hea Be fate yt PL yp ale eo
DC Number Name “al Facility No. From Part 1
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| was found guilty of misconduct number 23> £ / on _#*
(dats)

by the Hearing Examiner, and | wish to appeal that decision on the following grounds.

Check Area(s) Involved

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al b,the punishment is disproportionate to the offense; and/or

falc. the findings of fact were insufficient to support the decision. -

Below is a brief statement of the facts relevant to my claims(s). It includes the identity
of all persons who may have information that may be helpful in resolving this matter.

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| Inmate's Signature Date

DC-ADM 801, Inmate Discipline Procedures Manual

Section § ~ Appeals
issued: May 20, 2015
Effective: July 2, 2015

Attachment 5-A
Case 2:19-cv-03123-NIQA ‘ Document 2. Filed 07/17/19. Page 51 of 51

COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF CORRECTIONS
1920 Technology Parkway
Mechanicsburg, PA 17050

March 25, 2019
‘OFFICE OF THE

CHIEF HEARING EXAMINER

Michael Green, FW-0302
SCI-Phoenix ,

Re: DC-ADM 801 - Final Review
Misconduct No. 1010642

Dear Mr, Green:
This is in response to your appeal to Final Review of the above-numbered misconduct. -

In accordance with DC-ADM 801, § 5 (C. 6), I have reviewed the entire record of this
misconduct; including the misconduct report, the hearing report and related documents, your appeal.
to the Program Review Committee and their response, your appeal to the Superintendent and his
response. I have also thoroughly reviewed the issues you raise to Final Review.

The issues you taise to Final Review have already been addressed by the Program Review
Committee and the Superintendent. On review of the record, this Office concurs with their
responses. I find no persuasive basis from which to conclude that the Examiner erred in conducting
the hearing. The Examiner specifically documented findings of fact based on evidence presented at
the hearing to support the decision. The procedures followed were in complete accordance with
DC-ADM 801. The sanction imposed is not viewed to be disproportionate to the offense, and.
therefore will not be amended at this level.

For the above-stated reasons, the responses provided by the Program Review Commuittee and
the Superintendent are upheld in full. Your appeal must, therefore, be denied.

aff I Mésiet
ief Hearmg Examiner

Pennsylvania Department of Corrections
ZJM/srh
cc; . Superintendent Ferguson .

"Our mission is fo protect the public by confining persons committed to our custody in safe, secure facilities, and to |
provide opportunities for inmates to acquire the skills and values necessary fo become productive law-abiding
eltizens; while respecting the rights of crime victims,”
